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                                 THE UNITED STATES DISTRICT COURT
                              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

CHELSEY GOSSE, CHRISTOPHER
DETTORE, and LORI A. DETTORE, on their
own behalfs and on behalf of other similarly               : CIVIL ACTION NO. 3:20-CV-1446
situated persons,                                          : (JUDGE MARIANI)
                                                           : (Magistrate Judge Carlson)
                Plaintiffs,

                v.

TRANSWORLD SYSTEMS, INC.;     U.S. BANK,
N.A.; RATCHFORD LAW GROUP, P.C.;
PORTNOY SCHNECK, L.L.C.; NATIONAL
COLLEGIATE STUDENT LOAN TRUST 2007-3;
NATIONAL COLLEGIATE STUDENT LOAN
TRUST 2007-4; GSS DATA SERVICES, L.L.C., 1

                Defendants.

                                                       ORDER

        AND NOW, THIS ~                DAY OF MAY 2022, upon consideration of Magistrate Judge Martin C.
Carlson's Report and Recommendation (''R&R") (Doc. 82), the parties' objections thereto (Docs. 83, 86,

86-1), responses to the objections (Docs. 87, 88, 89), and all relevant documents,2 IT IS HEREBY

ORDERED THAT:

    1. The R&R (Doc. 82) is ADOPTED IN PART and NOT ADOPTED IN PART.

    2. The pending motions to dismiss (Docs. 52, 53, 54, 55, 66) are GRANTED IN PART and DENIED

        IN PART.
    3. The R&R (Doc. 82) is NOT ADOPTED and the motions to dismiss are DENIED as to the matters

        addressed in Paragraphs 5 and 6 below.


        1 Defendant   GSS Data Services, L.L.C., was dismissed as a party by Order of February 3, 2021. (Doc. 63.)

        2 Relevant    documents include Plaintiffs' First Amended Complaint which is dated December 3, 2020, and
was first docketed on that date. (Doc. 44.) The five pending motions to dismiss (Docs. 52, 53, 54, 55, 66) were filed
in response to the December 3, 2020, First Amended Complaint. On March 1, 2021 , Plaintiffs again filed the First
Amended Complaint dated December 3, 2020. (Doc. 67.) The only difference discerned between the two filings is
that the irregular paragraph numbering structure in the first filing was corrected in the second . The Court will refer
to Plaintiffs' First Amended Complaint as Document 44.
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    4. The R&R is ADOPTED in all other respects, and the motions to dismiss are GRANTED to the

        extent set forth herein.

    5. "Defendant National Collegiate Student Loan Trust 2007-4's Objection to the July 13 Report and

        Recommendation (Doc. 82)" is SUSTAINED. With its objection, Defendant National Collegiate

        Student Loan Trust 2007-4 ("Defendant Trust 2007-4") asserts that the only claims against it are

        the Fair Credit Extension Uniformity Act ("FCEUA")(Count II), Wrongful Use of Civil Proceedings

        ("Dragonetti Act") (Count 111), and Civil Conspiracy (Count IV), and, because the R&R recognizes

        that the FCEUA claim and the Dettores' Dragonetti Act claim and should be dismissed (Doc. 82 at

        13-15), 3 the conspiracy claim should also be dismissed. (Docs. 83, 85.) Plaintiffs do not oppose

        this objection, and they do not dispute that only the Dettores allege a relationship with Defendant

        Trust 2007-4 (see Doc. 85 at 2 (citing First Amended Complaint ,r,r 48, 49)). The Court agrees with

        the R&R that the FCEUA claims are properly dismissed, and the Dragonetti Act claim is also

        properly dismissed against Defendant Trust 2007-4 in that only the Dettores assert a relationship

        with this Defendant. With no substantive claims remaining against Defendant Trust 2007-4, the

        conspiracy claim asserted against it should be dismissed and Defendant Trust 2007-4 should be

        dismissed from this action.

    6. The objections set forth in "Plaintiffs' Objections to Magistrate Martin Carlson's Order of July 13,

        2021 Concerning Report and Recommendation (ECF 82)" (Doc. 86) are SUSTAINED.

               a. Plaintiffs objection to the R&R's conclusion that Defendant U.S. Bank should be dismissed

                  from this action is SUSTAINED. Defendant U.S. Bank was originally the "Back-Up Special

                  Servicer" and became the "Special Servicer" of the Trusts at issue in 2012. (Doc. 59 at 4;

                  Doc. 59-3 at 2.) The R&R found that the only claims against U.S. Bank were Count II for a
                  FUECA violation , Count Il l for a Dragonetti Act violation, and Count IV for Civil Conspiracy

                  (Doc. 82 at 15, 16 & n.1)--the claims in the Amended Complaint lodged against "All


        3 In their brief in opposition to Defendants' motions to dismiss, Plaintiffs note that Count Ill is not asserted
on behalf of the Dettores since their state action is still pending . (Doc. 68 at 38.n.10.)

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    Defendants" (see Doc. 44 at 23, 24). The Magistrate Judge reasoned that if the FCEUA

    claims and Dragonetti Act claim of the Dettore Plaintiffs were dismissed, the only remaining

    substantive count in Plaintiffs' lawsuit against U.S. Bank would be Plaintiff Gosse's

    Dragonetti Act claim. (Doc. 82 at 15-16.) The propriety of the dismissal of the FCEUA

    claim and Dettores' Dragonetti Act claim are not in dispute. The R&R does not conclude

    that Plaintiff Gosse's Dragonetti Act claim should not go forward; the conclusion is only that

    the claim asserted against Defendant U.S. Bank fails as pied. (Id. at 19-20.) The R&R

    finds that

            the sole substantive basis for naming U.S. Bank in the lawsuit would be the
            allegation that the bank violated the Dragonetti Act by "tak[ing] part in the
            procurement, initiation or continuation of civil proceedings against [Plaintiff
            Chelsey Gosse] for wrongful use of civil proceedings, [in that U.S. Bank] acted
            in a grossly negligent manner or without probable cause and primarily for a
            purpose other than that of securing the proper discovery, joinder of parties or
            adjudication of the claim in which the proceedings [we]re based." 42 Pa.
            Cons. Stat. § 8351 (a).

    (Doc. 82 at 16.) The Magistrate Judge follows this observation with a discussion of the

    pleading and proof requirements of a Dragonetti Act claim . (Id. at 16-19.) Neither in his

    discussion of the Dragonetti Act claim nor elsewhere in the R&R does the Magistate Judge

    address Plaintiffs' assertions in the First Amended Complaint and brief in opposition to the

    motions to dismiss that the doctrine of respondeat superior and vicarious liability apply to

    Defendant U.S. Bank and render it responsible for the wrongful conduct of Transworld and

    attorney defendants. (See, e.g. , Doc. 44   ,m 17(b), 20; Doc. 68 at 25-27.) Defendant U.S.
    Bank asserts in its brief opposing Plaintiffs objection that the Magistrate Judge's

            decision not to entertain these theories was proper in light of his finding that
            the SSA "prohibited [U .S. Bank] from directly undertaking debt collection
            activities or supervising such debt collection activity." R&R at 5. In addition,
            U.S. Bank has already detailed how the SSA [Special Services Agreement)
            and TSI Agreement [Default Prevention and Special Services Agreement]
            expressly refute Plaintiffs' arguments that U.S. Bank may be held indirectly
            liable for the actions of any other Defendants.


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                 (Doc. 88 at 19 (citing Doc. 59 at 13-16; Doc. 75 at 16-18).) Omitted from Defendant U.S.

                 Bank's quotation of the R&R is the Magistrate Judge's statement that the assertion

                 concerning the SSA "appears undisputed." (See Doc. 82 at 5, 19.) Notably, the R&R does

                 not undertake an independent review of the SSA or TSI , and, from the Court's reading of

                 relevant documents,4 assertions supporting dismissal grounded in the SSA are disputed.

                 Thus, the Magistrate Judge's conclusion and Defendant U.S. Bank's reliance on the

                 reasoning set out in the R&R are undermined. Further, the only specific provision of the

                 SSA cited by Defendant U.S. Bank in its brief in opposition to Plaintiff's objections is

                 Section 8.A. (See Doc. 88 at 13, 15.) Section 8.A of the SSA includes the statement that

                 "nothing in this Agreement shall be construed to require or permit the Back-Up Special

                 Servicer (in its capacity as Special Servicer or otherwise) to undertake direct collection or

                 enforcement activities." (Doc. 59-3 at 8 (emphasis added).) This provision does not

                 preclude the existence of an indirect role in collection and enforcement activities. In its

                 brief in support of its motion to dismiss, Defendant U.S. Bank also relies on Section 8.D of

                 the SSA to support its argument that it cannot be vicariously liable for Subservicers'

                 misconduct: "U.S. Bank is not required to 'supervise or monitor the performance' of

                 Servicers or Subservicers." (Doc. 59 at 22 (quoting SSA§ 8.D (Doc. 59-3 at 10)).) This

                 provision does not preclude supervisory activity by Defendant U.S. Bank but merely states

                 that such activity is "not required ." Therefore, Defendants have not satisfied their burden at

                 the motion to dismiss stage of showing that Plaintiff Gosse has not stated a plausible

                 Dragonetti Act claim under an indirect liability theory, and the R&R exceeded what may

                 properly be decided at this stage of the proceedings. Further, the Court concludes that,
                 given the notice pleading requirements of Federal Rule of Civil Procedure 8(a), Plaintiffs

                 have adequately pied claims of indirect liability against Defendant U.S. Bank. This

        4 Relevant   documents are Plaintiffs' First Amended Complaint (Doc. 44), Defendant U.S. Bank's brief in
support of its motion to dismiss (Doc. 59), Plaintiffs' opposition brief (Doc. 68) , Defendant U.S. Bank's reply brief
(Doc. 75), Plaintiffs' objections to the R&R and supporting brief (Docs. 86, 86-1), and Defendant U.S. Banks'
response thereto (Doc. 88).
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           determination also means that Count IV for Civil Conspiracy asserted against Defendant

           U.S. Bank should not be dismissed. For the foregoing reasons, Plaintiffs objection to the

           dismissal of Count Ill as asserted against Defendant U.S. Bank is SUSTAINED.

       b. Plaintiffs object to the R&R's recommendation that this case proceed to the summary

           judgment stage without discovery. (Doc. 86 at 1; Doc. 86-1 at 5.) Based on the R&R's

           rationale for the lack of need for discovery and the Court's analysis set out in the preceding

           paragraph, this objection is SUSTAINED.

7. Count II of the First Amended Complaint alleging a violation of Pennsylvania's Fair Credit

    Extension Uniformity Act ("FCEUA") is DISMISSED without leave to amend .

8. Count Ill of the First Amended Complaint alleging Wrongful Use of Civil Proceedings pursuant to

    42 Pa. C.S.A. § 8351 , et seq ., is DISMISSED without leave to amend as asserted by Plaintiffs

    Christopher Dettore and Lori A. Dettore and DISMISSED without leave to amend as asserted

    against Defendant National Collegiate Student Loan Trust 2007-4.

9. Count IV of the First Amended Complaint for Civil Conspiracy is DISMISSED without leave to

    amend as to Defendant National Collegiate Student Loan Trust 2007-4.

10. Defendant National Collegiate Student Loan Trust 2007-4 is DISMISSED from this action.

11 . To the extent remaining Defendants seek dismissal of the Fair Debt Collection Practices Act and

    Dragonetti Act claims based on the assertion of Pennsylvania's judicial proceedings litigation

    privilege, the motions are DENIED.

12. The following claims go forward: Count One alleging a violation of the Fair Debt Collection

    Practices Act ("FDCPA"); Count Ill for Wrongful Use of Civil Proceedings ("Dragonetti Act") brought

    by Plaintiff Chelsey Gosse against all Defendants except National Collegiate Student Loan Trust

    2007-4; Count IV for Civil Conspiracy against all Defendants except National Collegiate Student
    Loan Trust 2007-4.

13. This matter is REMANDED to Magistrate Judge Carlson for further pretrial management.




                                                  R ert          ni
                                                  United States District Judge
